                            UNITED STATES DISTRICT COURT
                               DISTRICT OF COLORADO

Civil Action No.: 1:18-cv-02373-WJM-NYW

REBECCA CALABRIS and
DAVID CALABRIS,

       Plaintiffs,

v.

DISH NETWORK, LLC,

       Defendant.


                            PROPOSED SCHEDULING ORDER



             1. DATE OF CONFERENCE AND APPEARANCE OF COUNSEL

      The Scheduling Conference is scheduled for November 20, 2018 at 10:30 a.m.

      Appearing for Plaintiffs, Rebecca Calabris & David Calabris: Marwan R. Daher,

Sulaiman Law Group, Ltd. 2500 South Highland Ave., Suite 200 Lombard, Illinois 60148,

Telephone (630) 537-1770.

      Appearing for Defendant, Dish Network, LLC: Eric L. Zalud; Benesch Friedlander

Coplan & Aronoff LLP, 200 Public Square, Cleveland Ohio, 44144; Telephone: 216-363-4588.

                             2. STATEMENT OF JURISDICTION

       Plaintiffs: This court has subject matter jurisdiction over this action under 28 U.S.C.

 §1331 because Plaintiffs’ claims were brought under a federal statute, the Telephone

 Consumer Protection Act, 47 U.S.C. § 227 et seq. (the “TCPA”). This court has personal



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 jurisdiction over this matter because Defendant maintains significant business contacts in the

 District of Colorado and is headquartered in the District of Colorado.

       Defendant:        Jurisdiction is proper over DISH’s Counterclaim pursuant to 28

U.S.C. § 1367(a).

                         3. STATEMENT OF CLAIMS AND DEFENSES

   a. Plaintiffs’ statement:

   Plaintiffs’ Complaint (Dkt. 1) alleges that Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii)

of the Telephone Consumer Protection Act (“TCPA”). Plaintiffs contend that Defendant called

their cellular telephone numbers using an automated telephone dialing system and pre-recorded

messages after seeking payment of a debt and after Plaintiffs’ demanded that it cease calling, in

violation of the TCPA.

   b. Defendant’s statement:

   DISH denies that it is liable to Plaintiffs under the TCPA. Plaintiffs are former DISH

customers and provided DISH with prior express consent for DISH to call them, which consent

was provided in a bilateral contract with a bargained for consent provision. Further, Plaintiffs

are in breach of the Agreements entered into between the parties and owe DISH not less than

$165.95 under the Agreements, plus pre-judgment interest, post-judgment interest, and costs.


                                    4. UNDISPUTED FACTS

       The following facts are undisputed:

               None.




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                                5. COMPUTATION OF DAMAGES

       Plaintiffs: Plaintiffs seek statutory damages of $500.00 to $1,500.00 per phone call under

   the TCPA.

       Defendant: Pursuant to the Agreements attached to DISH’s Counterclaim for breach of

   contract, Plaintiffs owe DISH not less than $165.95, plus pre-judgment interest, post-

   judgment interest, and costs.

                         REPORT OF PRE-CONFERENCE DISCOVERY &

                              MEETING UNDER Fed. R. Civ. P. 26(f)

   a. Date of Rule 26(f) Meeting: November 20, 2018.

   b. Names of each participant and each party represented:

       Counsel     for    Plaintiffs:   Marwan   R.   Daher,   Sulaiman    Law    Group,    Ltd.

Counsel for Defendant: Eric L. Zalud; Benesch Friedlander Coplan & Aronoff LLP.

   c. Statement as to when Rule 26(a)(1) disclosures were made or will be made:

       Disclosures will be made on or before November 27 30, 2018, with documents identified
by those Initial Disclosures made at that time.

   d. Proposed changes, if any, in timing or requirement of disclosures under
      Fed.R.Civ.P. 26(a)(1).

       The parties do not propose any changes to the timing or requirement of disclosures at this

time. See above.

   e. Statement concerning any agreements to conduct informal discovery:

       The parties have not agreed to make any documents available without the need for a

formal request for production at this time.




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   f. Statement concerning any other agreements or proposals to reduce discovery and
      other litigation costs:

       The parties will confer and attempt to agree on a joint set of trial exhibits, using the same

numbering. However, the parties reserve the right to submit their own trial exhibits with their

own numbering convention if they cannot agree.

   g. Statement as to whether the parties anticipate that their claims or defenses will
      involve extensive electronically stored information, or that a substantial amount of
      disclosure or discovery will involve information or records maintained in electronic
      form.

       The parties have discussed the production of electronically stored information and

suggest that such information be handled as follows: if each party has electronically stored

information, it will be subject to disclosure and/or discovery. The parties expect to exchange all

relevant documents in Portable Document Format (PDF) where applicable. If a party requests

native format then the parties will reasonably work together to facilitate such a request.

   h. Statement summarizing the parties’ discussions regarding the possibilities for
      promptly settling or resolving the case.

       The parties have yet to discuss the possibility of settlement. Plaintiffs will promptly issue
a demand upon request.
                                            6. CONSENT

       The parties do not consent to the exercise of jurisdiction of a U.S. Magistrate Judge.

                                 7. DISCOVERY LIMITATIONS

   a. Modifications which any party proposes to the presumptive numbers of depositions
      or interrogatories contained in the Federal Rules.

       The parties agree to limit the number of depositions to three (3) depositions for each side,

but the parties are in no way agreeing to provide three (3) depositions. The rules, procedures, and



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scope limitations of discovery still apply. Defendant reserves the right to request leave for

additional depositions should discovery reveal that additional depositions are necessary. The

parties will comply with all other discovery limitations as set forth by the Federal Rules of Civil

Procedure.

       Each side may serve up to twenty-five (25) interrogatories, including discrete subparts.

   b. Limitations which any party proposes on the length of depositions.

       The parties will comply with the limitations set forth in Federal Rule of Civil Procedure
       30. Each deposition may last up to one day of seven hours.

   c. Limitations which any party proposes on the number of requests for production
      and/or requests for admission.

       The parties will comply with the limitations set forth in Federal Rules of Civil Procedure

34 and 36. Each side may serve up to twenty-five (25) requests for production and twenty-five

(25) requests for admissions.


   d. Other Planning or Discovery Orders

       The parties will also seek entry of a stipulated protective order to allow the exchange of

sensitive information, including trade secret and other proprietary information belonging to

Defendant.   The Parties will submit a proposed Stipulated Protective Order no later than

December 13, 2018 for the court’s consideration.

                                8. CASE PLAN AND SCHEDULE

   a. Deadline to Amend Pleadings and for Joinder of Parties

       January 25, 2019.

   b. Discovery Cut-off



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        July 24, 2019.

   c. Dispositive Motion Deadline

        August 30, 2019.

   d. Expert Witness Disclosure

        1.     The parties shall identify anticipated fields of expert testimony, if any.

        Plaintiffs anticipate that expert testimony may be need with respect to the technology

used by Defendant to generate the alleged calls. Defendant anticipates that expert testimony will

be necessary to defend against Plaintiff’s contention that it used an ATDS as defined by the

TCPA.

        2.     Limitations which the parties propose on the use or number of expert witnesses.

        The parties propose to limit the number of expert witnesses to two per side, including

rebuttal experts.

        3.     Plaintiffs shall designate its expert and provide defense counsel with all

information specified in Fed. R. Civ. P. 26(a)(2) on or before May 31, 2019, including an expert

report. This includes disclosure of information applicable to “Witnesses Who Must Provide A

Written Report” under Rule 26(a)(2)(B) and information applicable to “Witnesses Who Do Not

Provide a Written Report” under Rule 26(a)(2)(C).

        4.     Defendant shall designate its experts and provide plaintiff’s counsel with all

information specified in Fed. R. Civ. P. 26(a)(2) on or before June 28, 2019, including an expert

report. This includes disclosure of information applicable to “Witnesses Who Must Provide A

Written Report” under Rule 26(a)(2)(B) and information applicable to “Witnesses Who Do Not

Provide a Written Report” under Rule 26(a)(2)(C).


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        Notwithstanding the provisions of Fed. R. Civ. P. 26(a)(2)(B), no exception to the

requirements of the Rule will be allowed by stipulation unless the stipulation is in writing and

approved by the court. In addition to the requirements set forth in Rule 26(a)(2)(B)(I)-(vi), the

expert’s written report also must identify the principles and methods on which the expert relied

in support of his/her opinions and describe how the expert applied those principles and methods

reliably to the facts of the case relevant to the opinions set forth in the written report.

    e. Identification of Persons to Be Deposed

    Plaintiffs: Corporate representative of Defendant, any person identified in Defendant’s Rule

26(a)(1) Initial Disclosures, any employee of Defendant who spoke with Plaintiffs, and persons

disclosed through the course of discovery or further investigation.

    Defendant: Rebecca and David Calabris.

        The dates and times of the depositions have yet to be determined.


    f. Deadlines for Interrogatories

      All discovery should be served forty-five (45) days prior to discovery deadline in time for
completion on July 25, 2019.

    g. Deadline for Requests for Production and Admissions

      All discovery should be served in time for forty-five (45) days prior to discovery deadline
completion on July 25, 2019.

                            9. DATES FOR FURTHER CONFERENCES

         [The magistrate judge will complete this section at the scheduling conference if he or she has not
 already set deadlines by an order filed before the conference.]

                 a.      Status conferences will be held in this case at the following dates and times:

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                b.     A final pretrial conference will be held in this case on October 17, 2019 at
                1:30 o’clock p.m. A Final Pretrial Order shall be prepared by the parties and
                submitted to the court no later than seven (7) days before the final pretrial
                conference.

                                10. OTHER SCHEDULING ISSUES

   a. Identify those discovery or scheduling issues, if any, on which counsel, after a good faith
      effort, were unable to reach an agreement

       None.

   b. Anticipated length of trial and whether trial is to the court or jury.

       The parties anticipate the trial will be complete in two days before a jury.

   c. Identify pretrial proceedings, if any, that the parties believe may be more efficiently or
      economically conducted in the District Court’s facility at 212 N. Watsatch Street,
      Colorado Springs, Colorado.

       None.

                    12. NOTICE TO COUNSEL AND PRO SE PARTIES

      The parties filing motions for extension of time or continuances must comply with
D.C.COLO.LCivR 6.1D. by submitting proof that a copy of the motion has been served upon the
moving attorney’s client, all attorneys of record, and all pro se parties.

      Counsel will be expected to be familiar and to comply with the Pretrial and Trial
Procedures or Practice Standards established by the judicial officer presiding over the trial of this
case.

       With respect to discovery disputes, parties must comply with D.C.COLO.LCivR 7.1A.

       In addition to filing an appropriate notice with the clerk's office, a pro se party must file a
copy of a notice of change of his or her address or telephone number with the clerk of the U.S.
Magistrate Judge assigned to this case.

       In addition to filing an appropriate notice with the clerk's office, counsel must file a copy
of any motion for withdrawal, motion for substitution of counsel, or notice of change of counsel's
address or telephone number with the clerk of the U.S. Magistrate Judge assigned to this case.




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                   13. AMENDMENTS TO SCHEDULING ORDER

      The scheduling order may be altered or amended only upon a showing of good cause.




      DATED this 29th day of November, 2018.

                                         BY THE COURT:

                                         ___________________________
                                         Magistrate Judge
                                         United States District Court


APPROVED:


s/ MARWAN R. DAHER                       s/ Eric Larson
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